Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 1 of 8




                            Declaration of
                        Elizabeth McNamara
                               Exhibit 49
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 2 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 3 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 4 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 5 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 6 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 7 of 8
Case 5:21-cv-00056-LGW-BWC Document 136-49 Filed 12/19/23 Page 8 of 8
